
PER CURIAM
The Office of Disciplinary Counsel ("ODC") commenced an investigation into allegations that respondent neglected his clients' legal matters, failed to communicate with his clients, relocated and accepted a position as an attorney with the State without giving notice to his clients, continued representing clients while employed with the State, and failed to return unearned fees and client files upon request. Following the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Richard C. Oustalet, Jr., Louisiana Bar Roll number 27599, be suspended from the practice of law for a period of two years.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court's judgment until paid.
